Case 8:16-ap-01114-ES Doc49 Filed 08/22/17 Entered 08/22/17 14:47:49 Desc

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MARCEREAU-& NAZIF— —
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Sy Nazif (SBN 228949)
26000 Towne Centre Drive, Suite 230
Foothill Ranch, CA 92610
Tel: (949) 531-6500
Fax: (949) 531-6501
Attorneys for Creditors and Plaintiffs
Kelli Peters, Bill Peters and Sydnie Peters
UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA
SANTA ANA DIVISION

In re: Case No. 8:16-bk-10223-ES
KENT W. EASTER Chapter 7

Debtor.
KELLI PETERS, BILL PETERS and Adv. No. 8:16-ap-01114-ES
SYDNIE PETERS,

STIPULATION TO DISMISS
Plaintiffs, PLAINTIFF’S COMPLAINT TO
DETERMINE
Vv. NONDISCHARGEABILITY OF DEBT

KENT W. EASTER, dba KENT EASTER
CONSULTING, dba LAW OFFICES OF
KENT W. EASTER,

Defendant.

TO THE HONORABLE ERITHE A. SMITH, UNITED STATES
BANKRUPTCY JUDGE, AND ALL PARTIES IN INTEREST:

This stipulation is entered into by and among plaintiffs Kelli Peters, Bill Peters, and
Sydnie Peters (“Plaintiffs”) and defendant Kent W. Easter (“Defendant”) by and through
their respective counsel. The Plaintiffs and Defendant are collectively referred to as the
“Parties.”
fi]

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‘RECITALS

A. On April 26, 2016, Plaintiffs commenced the above captioned adversary
proceeding by filing a complaint (“Complaint”) against Defendant.

B. On May 26, 2016, Defendant filed an answer to the Complaint.

C. The Parties have reached a settlement and hereby agree to dismiss Plaintiffs’
Complaint in the above-captioned matter.

STIPULATION
IT 1S HEREBY STIPULATED AND AGREED, by and between the Plaintiffs, on

the one hand, and Defendant, on the other hand, by and through their respective counsel of
record, that pursuant to the Parties’ Settlement Agreement and Mutual Release dated
August 8, 2017, and Federal Rule of Civil Procedure 41(a)(1)(A)(ii) made applicable to
this adversary proceeding by Federal Rule of Bankruptcy Procedure 7041, Plaintiffs
voluntarily and hereby do dismiss the Complaint without prejudice. Each party shall bear

its own fees and costs with respect to this adversary proceeding.

DATED: August A, 2017 MARCERE AZJF

By i i} ——
Robert H. Marcereau

Attorneys for Creditors and Plaintiffs
Kelli Péters, Bill Peters and Sydnie Peters

DATED: August (yk 2017 GOE & FORSYTHE, LLP

By

Robert P. Goe
Charity J. Miller
Attorneys for Defendant Kent W. Easter,

dba Kent Easter Consulting, dba Law Offices
of Kent W. Easter

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+ 1288509.) a0B/18/17 -2- STIPULATION TO DISMISS COMPLAINT

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
26000 Towne Centre Drive, Suite 230, Foothill Ranch, California 92610

A true and correct copy of the foregoing document entitled (specify): STIPULATION TO DISMISS PLAINTIFF’S
COMPLAINT TO DETERMINE NON DISCHARGEABILITY OF DEBT will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
8/22/17, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mai! Notice List to receive NEF transmission at the email addresses stated below:

Robert P. Goe: kmurphy@goeforlaw.com, rgoe@goeforlaw.com; goeforecf@gmail.com
Trustee, Weneta M. Kosmala: ecf.alert+Kosmala@titlexi.com; wkosmala@txitrustee.com; dmf@txitrustee.com;
kgeorge@kosmalalaw.com
United States Trustee: ustpregion16.sa.eci@usdoj.gov
[] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) 8/22/17, | served the following persons and/or entities at the last known addresses in this bankruptcy case or

adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,

postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that malling to the judge will
be completed no later than 24 hours after the document is filed.

Attorney for Debtor/Defendant: Trustee: Judge: Hon. Erithe A. Smith

Robert P. Goe Weneta M Kosmala U.S. Bankruptcy Court Central District
Goe & Forsythe, LLP 3 MacArthur Place, Suite 760 4171 W. Fourth St, Suite 5040 / Ctrm 5A
18101 Von Karman, Ste 1200 Santa Ana, CA 92707 Santa Ana, CA 92701-4593

Irvine, CA 92612

Defendant in Non-Bankruptcy Case:
Jill B. Easter

P.O. Box 12402

Costa Mesa, CA 92627

C1 Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 8/22/17 | served the following persons
and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

LJ Service information continued on attached page
declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

8/22/17 Sarah Crouse /sf Sarah Crouse
Date Printed Name Signature

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1.PROOF.SERVICE
